                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                                  5:13-cv-12-RLV
                                 (5:05-cr-257-RLV)

DERRICK RAYSHAWN PARKS,             )
                                    )
                  Petitioner,       )
                                    )
vs.                                 )                        ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Respondent.       )
___________________________________ )

       THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside or

Correct Sentence under 28 U.S.C. § 2255, (Doc. No. 1), on the Government’s Response in

Opposition to the Motion to Vacate and Motion to Amend/Correct, (Doc. No. 9), on the

Government’s Motion for Extension of Time to File its Response, (Doc. No. 8), and on

Petitioner’s Reply, (Doc. No. 10).

       I.   BACKGROUND

       Petitioner was indicted by the Grand Jury for the Western District of North Carolina on

December 13, 2005, and charged with conspiracy to possess with intent to distribute fifty grams

or more of crack cocaine and five kilograms or more of powder cocaine, in violation of 21

U.S.C. § 846. (Crim. No. 5:05-cr-257, Doc. No. 1: Indictment). On December 15, 2005, the

Government filed a notice of intent to seek enhanced penalties, pursuant to 21 U.S.C. § 851,

based on Petitioner’s prior conviction for possession with intent to sell and deliver marijuana in

North Carolina Superior Court for Iredell County. (Id., Doc. No. 5: Information Pursuant to Title

21 U.S.C. § 851). Petitioner made his initial appearance before a federal magistrate judge on

December 19, 2005, during which the Court appointed Attorney Kevin Tate to represent

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Petitioner. (Id., Doc. Entry dated 12/19/2005). Two days later, Petitioner was arraigned and

pled not guilty. Petitioner’s trial was initially scheduled for a trial term beginning January 9,

2006.

        Prior to trial, Petitioner filed four motions to continue requesting additional time to

prepare for trial, including motions on January 1, 2006, April 10, 2006, June 21, 2006, and

October 11, 2006. (Id., Doc. Nos. 10; 30; 34; 43). This Court granted each of Petitioner’s

motions, finding that the ends of justice served by taking such action outweighed the interests of

the public and the defendant in a speedy trial. (Id., Doc. Nos. 11; 32; 35; 50). The Court also

continued Petitioner’s trial twice on its own motions, concluding Petitioner’s case was “joined

for trial with a co-defendant as to whom the time for trial has not run and no motion for

severance has been granted . . . and that failure to continue this matter would result in a

miscarriage of justice.” (Id., Doc. Nos. 23; 40: Order to Continue).

        In its order granting the last motion to continue, this Court scheduled Petitioner’s trial for

the term set to begin January 16, 2007. (Id., Doc. No. 50). Petitioner was tried before a jury

along with his codefendant Kendrick Blackwell beginning January 17, 2007. The evidence at

trial showed that Petitioner participated in a large-scale, drug-trafficking organization led by

Richard Eckles. Several of Petitioner’s coconspirators, including Eckles, testified against

Petitioner at trial and described his drug-dealing activities. At the conclusion of the

Government’s evidence and again at the end of the trial, Petitioner made a motion for judgment

of acquittal, which this Court denied. On January 24, 2007, the jury returned a verdict of guilty.

(Id., Doc. No. 78: Jury Verdict).

        In the presentence report, the probation officer advised that, consistent with the

Government’s notice to seek enhanced penalties, Petitioner faced a mandatory minimum



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sentence of twenty years in prison. (Id., Doc. No. 104 at 15: PSR). Based primarily on the

evidence adduced at trial, the probation officer concluded that Petitioner was responsible for 2.6

kilograms of cocaine base and 24 kilograms of powder cocaine. (Id. at 5). Relying on the

quantity of drugs reasonably foreseeable to Petitioner and applying a two-level enhancement for

possession of a firearm during the course of the conspiracy, the probation officer calculated a

total offense level of 38, which, when coupled with Petitioner’s criminal history category V,

yielded an advisory guidelines range of 360 months to life in prison. (Id. at 5; 15). This Court

adopted the presentence report and sentenced Petitioner to 360 months in prison, the low end of

the guidelines. (Id., Doc. No. 117: Judgment).

       Petitioner appealed his conviction and sentence, raising an issue related to jury selection

and juror misconduct, challenging a pair of evidentiary rulings, and contending that there was

insufficient evidence to support this Court’s drug weight findings at sentencing. On June 29,

2011, the Fourth Circuit issued an unpublished, per curiam opinion affirming Petitioner’s

conviction and sentence. United States v. Blackwell, 436 Fed. App’x 192 (4th Cir. 2011).

Petitioner then filed a petition for a writ of certiorari with the Supreme Court, which petition the

Court denied on January 17, 2012. Parks v. United States, 132 S. Ct. 1093 (2012).

       Petitioner placed his initial motion to vacate in the prison mail system, and it was stamp-

filed in this Court on January 22, 2013. Petitioner placed a motion to amend the motion to

vacate in the prison mail system on February 12, 2013, and it was stamp-filed in this Court on

February 15, 2013. In an order dated February 20, 2012, this Court concluded that Petitioner

filed the motion to amend outside of the § 2255 one-year statute of limitations period and

ordered the Government, in addition to responding to Petitioner’s claims in his initial timely

motion, to present arguments as to the timeliness of the additional claims raised in Petitioner’s



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motion to amend. (Doc. No. 5). After receiving an extension of time, the Government filed its

Response in opposition to the motion to vacate on May 28, 2013. (Doc. No. 9). Petitioner filed

a Reply on July 10, 2013. (Doc. No. 10).

       In his initial motion to vacate, Petitioner brought the following claims: (1) counsel was

ineffective for failing to file for dismissal of the indictment based on a violation of the Speedy

Trial Act; (2) counsel was ineffective for failing to object to the introduction of the unredacted

plea agreements of cooperating witnesses; (3) counsel was ineffective for failing to object to the

notice of intent to seek enhanced penalties on the ground that the Government did not properly

serve the notice; (4) counsel was ineffective on appeal for failing to include a claim in light of

the Supreme Court’s decision in Carachuri-Rosendo v. Holder, 560 U.S. 563 (2010); (5) in light

of the Fourth Circuit’s en banc decision in United States v. Simmons, 649 F.3d 237 (4th Cir.

2011), the Court erroneously applied a mandatory minimum sentence; and (6) Petitioner is

entitled to a reduced sentence in light of the Supreme Court’s decision in Kimbrough v. United

States, 552 U.S. 85 (2007).

       II.   STANDARD OF REVIEW

       Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. After having considered the record, the Court finds that this matter can be resolved

without an evidentiary hearing. See Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

       III. DISCUSSION

       A. Petitioner’s ineffective assistance of counsel claims raised in the initial motion to

       vacate



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       The Sixth Amendment to the U.S. Constitution guarantees that in all criminal

prosecutions the accused has the right to the assistance of counsel for his defense. See U.S.

CONST. amend. VI. To show ineffective assistance of counsel, Petitioner must first establish

deficient performance by counsel and, second, that the deficient performance prejudiced

Petitioner. See Strickland v. Washington, 466 U.S. 668, 687-88 (1984). In making this

determination, there is “a strong presumption that counsel’s conduct falls within the wide range

of reasonable professional assistance.” Id. at 689; see also United States v. Luck, 611 F.3d 183,

186 (4th Cir. 2010). Furthermore, in considering the prejudice prong of the analysis, the Court

“can only grant relief under . . . Strickland if the ‘result of the proceeding was fundamentally

unfair or unreliable.’” Sexton v. French, 163 F.3d 874, 882 (4th Cir. 1998) (quoting Lockhart v.

Fretwell, 506 U.S. 364, 369 (1993)). Under these circumstances, the petitioner “bears the burden

of affirmatively proving prejudice.” Bowie v. Branker, 512 F.3d 112, 120 (4th Cir. 2008). If the

petitioner fails to meet this burden, a “reviewing court need not even consider the performance

prong.” United States v. Rhynes, 196 F.3d 207, 232 (4th Cir. 1999), opinion vacated on other

grounds, 218 F.3d 310 (4th Cir. 2000).

       1. Defense counsel’s failure to move to dismiss Petitioner’s indictment under the

       Speedy Trial Act

       Petitioner first contends that defense counsel was ineffective for failing to file a motion to

dismiss Petitioner’s indictment under the Speedy Trial Act. The Speedy Trial Act (“STA”)

requires that a defendant be brought to trial within seventy days of the filing of the indictment or

his initial appearance, whichever is later. 18 U.S.C. § 3161(c)(1). The STA sets forth a lengthy

list of exclusions from the STA seventy-day requirement, including delay resulting from the

filing of any pre-trial motion (§ 3161(h)(1)(D)), reasonable delay when the defendant is joined



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for trial with a codefendant as to whom the seventy-days has not run (§ 3161(h)(6)), or any

period of delay resulting from a continuance granted by a judge on its own motion, or upon

motion of the defendant or the Government when the court sets forth orally or in writing its

reasons for finding that the ends of justice served by granting the motion for continuance

outweigh the interests of the public and the defendant in a speedy trial (§ 3161(h)(7)(A)). See

also Zedner v. United States, 547 U.S. 489, 507 (2006).

       If the STA is violated, the indictment “shall be dismissed on motion of the defendant.”

18 U.S.C. § 3162(a)(2). Although the court must dismiss the indictment, the court has wide

discretion to dismiss the case with or without prejudice. In considering whether to dismiss the

case with or without prejudice, the STA directs the court to consider, among other factors, “the

seriousness of the offense; the facts and circumstances of the case which led to the dismissal; and

the impact of a reprosecution on the administration of this chapter and on the administration of

justice.” Id. Though not dispositive, “the presence or absence of prejudice to the defendant” is

“relevant for a district court’s consideration” along with the third factor. United States v. Taylor,

487 U.S. 326, 334, 341 (1988); see also United States v. Rushin, 642 F.3d 1299, 1304 (10th Cir.

2011) (“Absent a showing of appreciable prejudice to the defendant, a district court generally

should dismiss serious charges without prejudice under § 3162(a)(2) unless the delay is extended

and attributable to ‘intentional dilatory conduct, or a pattern of neglect on the part of the

Government.’”) (quoting United States v. Saltzman, 984 F.2d 1087, 1093 (10th Cir. 1993)). A

dismissal without prejudice allows the Government to seek a new indictment within six calendar

months of the date of dismissal in the event the statute of limitations has run. 18 U.S.C. § 3288.

       Here, Petitioner’s claim fails, first, because he has not demonstrated that there was a

violation of his rights under the STA. A review of the docket, motions to continue, and orders



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granting motions to continue the trial date reveals that the lapse of time between Petitioner’s

initial appearance and the eventual trial of this matter was properly excluded under the STA. In

fact, Petitioner successfully moved to continue his trial date four times and, in granting those

motions, this Court made the appropriate findings under the STA. Thus, there was no violation

of the STA. Moreover, even if there were a STA violation, Petitioner’s ineffective assistance of

counsel claim would fail because a decision by counsel to forego filing a motion to dismiss the

indictment would have been reasonable under the circumstances of this case. See Rushin, 642

F.3d at 1308 (“[A] reasonable attorney in the sound exercise of his or her professional judgment

arguably might have decided to forgo the filing of a motion to dismiss the indictment as largely

ineffective, an imprudent use of limited resources, or even unwarranted gamesmanship.”).

Furthermore, the circumstances in this case would not have warranted dismissal with prejudice;

thus, even assuming deficient performance by counsel, Petitioner could not establish prejudice.

       2. Defense counsel’s failure to object to the introduction of unredacted plea

       agreements

       Petitioner next contends that defense counsel provided ineffective assistance by failing to

object to the introduction of the unredacted plea agreements of three cooperating witnesses.

Specifically, Petitioner complains that the plea agreements should have been redacted to remove

any mention of polygraph examinations or “the Government’s guarantee of their trustworthiness

and the truth of their testimony.” (Doc. No. 1-1 at 5). Setting aside the merit of any such

objection, Petitioner has failed to argue how introduction of the agreements rendered his trial

fundamentally unfair or called the result into question. To the contrary, a review of the trial

transcript shows that defense counsel cross-examined each of the contested witnesses regarding

their cooperation and the benefits of pleading guilty. In sum, regardless of whether counsel’s



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performance was deficient, Petitioner fails to allege or show how he was prejudiced by counsel’s

failure to object to the introduction of the unredacted plea agreements of three cooperating

witnesses.

       3. Defense counsel’s failure to object to the Government’s alleged failure to give

       notice of its intent to seek enhanced penalties

       Petitioner next contends that defense counsel was ineffective for failing to object to the

Government’s alleged failure to give notice of its intent to seek enhanced penalties under 21

U.S.C. § 851(a). Section 851(a) instructs that no person “shall be sentenced to increased

punishment by reason of one or more prior convictions, unless before trial . . . the United States

attorney files an information,” identifying the convictions on which it intends to rely. 21 U.S.C.

§ 851(a). The Fourth Circuit has explained that the purpose of the § 851 notice requirement is to

allow “the defendant an opportunity to challenge the use of the prior convictions and to prevent

sentencing errors, as well as “to provide the repeat drug offender with full knowledge before trial

of the consequences of a guilty verdict, thereby enabling him to make informed decisions

regarding the entry of a plea or the planning of trial strategy.” United States v. Beasley, 495 F.3d

142, 149 (4th Cir. 2007).

       Petitioner claims that defense counsel was ineffective for failing to challenge the

sufficiency of the service of the § 851 notice, which was electronically filed after Petitioner’s

arrest but before defense counsel was appointed. Fatal to his claim, Petitioner has not alleged

that he or his counsel were unaware of the Government’s notice of intent to seek enhanced

penalties. In fact, the reasonable inference is that Petitioner and defense counsel were both

aware of the § 851 notice, given that Petitioner made his initial appearance and was arraigned




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after the notice was filed. As such, there is no evidence that the directives of § 851 were violated

in this case or that the purpose of the notice provision was not served.

         Nevertheless, even assuming counsel’s performance in failing to object was deficient,

Petitioner is unable to establish prejudice. While this Court no doubt concluded that the twenty-

year mandatory-minimum sentence applied based on Petitioner’s prior conviction for a prior

felony drug offense, the Court did not actually sentence Petitioner according to that mandatory

minimum. Instead, this Court sentenced Petitioner according to the higher guidelines range of

360 months to life. There is no indication that this Court was inclined to sentence Petitioner

below the guidelines range or that it felt constrained from imposing a lower sentence by the

twenty-year mandatory minimum. Because Petitioner was not sentenced according to the

enhanced sentencing provision, he cannot show that the failure to object to the Government’s

notice of intention to seek that enhanced penalty resulted in prejudice. Thus, Petitioner’s claim

fails.

         4. Defense counsel’s failure to assert a claim under Carachuri-Rosendo

         Petitioner next contends that counsel was ineffective for failing to assert a claim under

Carachuri-Rosendo. The test for ineffective assistance of appellate counsel is the same as it is

for trial counsel. Specifically, “[i]n order to establish a claim that appellate counsel was

ineffective for failing to pursue a claim on direct appeal, the applicant must normally

demonstrate (1) that his counsel’s representation fell below an objective standard of

reasonableness in light of the prevailing professional norms, and (2) that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different.” Bell v. Jarvis, 236 F.3d 149, 164 (4th Cir. 2000) (en banc) (internal quotations

omitted) (citations omitted). Appellate counsel is entitled to a “presumption that he decided



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which issues were most likely to afford relief on appeal.” Pruett v. Thompson, 996 F.2d 1560,

1568 (4th Cir. 1993).

       Petitioner claims that defense counsel was ineffective for not including a claim relying on

the Supreme Court’s 2010 decision in Carachuri-Rosendo in his direct appeal. In Carachuri-

Rosendo, the Supreme Court considered the definition of aggravated felony for purposes of the

Immigration and Nationality Act cancellation of removal provisions. 560 U.S. at 567. In August

2011, relying on the reasoning of Carachuri-Rosendo, the Fourth Circuit held in Simmons that an

offense is punishable by more than one year in prison only if the defendant could have received a

sentence of more than one year in prison, overturning its earlier decisions in United States v.

Jones, 195 F.3d 205 (4th Cir. 1999), and United States v. Harp, 406 F.3d 242 (4th Cir. 2005), in

which the court had held that an offense is punishable by more than one year in prison as long as

any defendant could receive a term of imprisonment of more than one year upon conviction for

that offense. See Simmons, 649 F.3d at 247. Petitioner contends that, in anticipation of this

change, defense counsel should have included a claim under Carachuri-Rosendo in his direct

appeal. Regardless of whether it was deficient performance for defense counsel to overlook such

a claim, for the reasons discussed in the next section, Petitioner is not entitled to relief even after

Simmons. Petitioner is therefore unable to show that defense counsel’s failure to include a claim

in light of Carachuri-Rosendo, the predecessor to Simmons, resulted in any prejudice.

       B. Petitioner’s Simmons claim

       As discussed in the preceding section, in Simmons, the Fourth Circuit overturned its prior

precedent and held that in order for a prior felony conviction to serve as a predicate offense

under the mandatory-minimum provisions of the Controlled Substances Act, the individual

defendant must have been convicted of an offense for which he could have received a sentence



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of more than one year in prison. 649 F.3d at 242-43. Contrary to Petitioner’s claim, he is not

entitled to relief in light of Simmons. While this Court no doubt concluded that the twenty-year

mandatory-minimum sentence applied based on Petitioner’s conviction for a prior felony drug

offense, the Court did not impose the enhanced sentence under the Controlled Substances Act.

Instead, the Court sentenced Petitioner according to the low end of the higher guidelines range.

Petitioner’s guidelines range of 360 months to life imprisonment was calculated based on his

base offense level and criminal history, not based on any statutory enhancement for prior felony

convictions. There is no indication in the record that this Court was inclined to sentence

Petitioner below the higher guidelines range or that it felt constrained from imposing a lower

sentence by the twenty-year mandatory minimum. Accordingly, regardless of whether this Court

erroneously applied the mandatory minimum by relying on a state court conviction that would no

longer be considered a felony after Simmons, any such error had no impact on Petitioner’s

ultimate sentence because this Court ultimately sentenced Petitioner to the higher guidelines

range. Petitioner is, therefore, not entitled to Simmons relief, as Petitioner has not shown that

there was a miscarriage of justice resulting from any alleged Simmons error. See Whiteside v.

United States, 748 F.3d 541 (4th Cir. 2014).

       C. Petitioner’s contention that he is entitled to have his sentence lowered under the

       changes in the crack cocaine guidelines and Kimbrough

       In December 2007, the Supreme Court held in Kimbrough v. United States that “it would

not be an abuse of discretion for a district court to conclude when sentencing a particular

defendant that the crack/powder disparity yields a sentence ‘greater than necessary’ to achieve §

3553(a)’s purposes, even in a mine-run case.” 552 U.S. at 110. Subsequent to Kimbrough, the

United States Sentencing Commission made several changes to the crack cocaine guidelines,



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including reducing offenses involving crack cocaine an average of two levels in early 2008, see

U.S.S.G. Amends. 706, 711, and later reducing the disparity between crack cocaine and powder

cocaine in response to the Fair Sentencing Act of 2010, see U.S.S.G. Amend. 750. Petitioner

claims that he is entitled to relief in light of Kimbrough because this Court somehow

misunderstood its discretion to vary from the guidelines range based on the “crack/powder

disparity.” Petitioner’s claim is without merit.

       Prior to Petitioner’s sentencing on February 18, 2009, the probation officer filed a

supplemental presentence report advising that, given the quantity of drugs reasonably foreseeable

to Petitioner, his offense level remained unchanged even after application of the revised

guidelines. (Criminal Case No. 5:05-cr-257, Doc. No. 109: Supplement to the Presentence

Report). At sentencing, this Court recognized its discretion, under Kimbrough, to depart from

the guidelines range but declined, stating, “[T]he court is not inclined to exercise discretion

beyond what it can surmise would be the calculation.” (Id., Doc. No. 131 at 51: Transcript of

Sentencing Hearing). As such, Petitioner’s claim that this Court misunderstood its authority in

light of Kimbrough is belied by the record.

       Furthermore, this Court recently considered whether Petitioner was eligible for relief

under the later changes to the guidelines in response to the Fair Sentencing Act. In another

supplement to the presentence report, the probation officer determined that under a revised

guidelines calculation based on the retroactive crack cocaine amendments, Petitioner still

qualified for a total offense level of 38 and that his guidelines range remained unchanged. (Id.,

Doc No. 151: Second Supplement). In light of that determination, this Court entered an order on

September 26, 2012, denying Petitioner’s motion for a sentence reduction. (Id., Doc. No. 152).

In short, Petitioner is unable to show that he was sentenced in violation of Kimbrough, where the



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record shows that this Court understood its discretion and declined to exercise it, and where

Petitioner’s guidelines range has remained unchanged after the amendments to the guidelines.

       D. Petitioner’s claims of ineffective assistance of counsel raised in the motion to

       amend

       In his motion to amend the motion to vacate, Petitioner alleged new claims of ineffective

assistance of counsel, including (1) that defense counsel was ineffective for failing to explain the

risks of proceeding to trial and for not discussing any proposed plea agreement; (2) that defense

counsel was ineffective for failing to properly argue that Petitioner was denied a fair and

impartial trial after the Court was apprised of misconduct involving the jury rendering a verdict;

(3) that defense counsel was ineffective for failing to challenge the sufficiency of the evidence

against Petitioner at trial; (4) that defense counsel was ineffective for failing to argue that the

indictment was constructively amended because there was insufficient evidence to support a

verdict of fifty grams or more of cocaine base; (5) that defense counsel was ineffective during

sentencing for failing to argue that the quantities of cocaine attributed to Petitioner were

unreliable; (6) that defense counsel was ineffective for failing to argue on appeal the denial of

Petitioner’s motion for mistrial based on jury tampering; and (7) that defense counsel was

ineffective on appeal for failing to argue that Petitioner did not receive a fair trial based on the

Government lawyer’s comments that the Petitioner was being held in a holding cell.

       Whether a petitioner may amend his § 2255 pleading is governed by Rule 15 of the

Federal Rules of Civil Procedure. See United States v. Pittman, 209 F.3d 314, 317 (4th Cir.

2000). Rule 15(a) provides that a party may amend its pleading once as a matter of course

within twenty-one days or within twenty-one days after service of a responsive pleading. FED. R.

CIV. P. 15(a)(1). Where a petitioner seeks to amend his motion in order to add a claim that is



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otherwise time-barred by the applicable statute of limitations, however, Rule 15(c)(1) requires

that the amended claim “relate[] back to the date of the original pleading.” FED. R. CIV. P.

15(c)(1); see also Pittman, 209 F.3d at 317. Rule 15(c)(1)(B) provides that an amendment relates

back when it “asserts a claim or defense that arose out of the conduct, transaction, or occurrence

set out–or attempted to be set out–in the original pleading.” FED. R. CIV. P. 15(c)(1)(B). As the

Supreme Court made clear in Mayle v. Felix, 545 U.S. 644 (2005), in the context of a habeas

motion, “conduct, transaction, or occurrence” does not mean the same “trial, conviction, or

sentence,” such that any claim that relates to the prior conviction or sentence challenged in a

habeas motion is considered timely, no matter how long after the original motion it is filed. Id.

at 664. Rather, a proposed amendment relates back to the date of the original motion if it

“state[s] claims that are tied to a common core of operative facts.” Id. With respect to claims of

ineffective assistance of counsel, a new claim of ineffective assistance of counsel does not relate

back to an earlier asserted claim of ineffective assistance of counsel if the “new claim asserts ‘a

new ground for relief supported by facts that differ in both time and type from those the original

pleading set forth.’” United States v. Gonzalez, 592 F.3d 675, 680 (5th Cir. 2009) (quoting

Mayle, 545 U.S. at 650). Applying these principles, the Fourth Circuit has explained as follows:

       The fact that amended claims arise from the same trial and sentencing proceeding
       as the original motion does not mean that the amended claims relate back for
       purposes of Rule 15(c). If we were to craft such a rule, it would mean that
       amendments to a § 2255 motion would almost invariably be allowed even after
       the statute of limitations had expired, because most § 2255 claims arise from a
       criminal defendant’s underlying conviction and sentence. Such a broad view of
       “relation back” would undermine the limitations period set by Congress.

Pittman, 209 F.3d at 318.

       As this Court recognized in its order dated February 20, 2013, the typical one-year statute

of limitations for § 2255 petitions also applies to any supplemental claims raised after a



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petitioner files an initial motion to vacate. Here, Petitioner’s judgment became final on January

17, 2013, one year after the Supreme Court denied his petition for a writ of certiorari.

Petitioner’s motion to amend is, therefore, untimely unless the claims raised therein relate back

to his timely filed initial motion.

        1. Petitioner’s claim related to defense counsel’s failure to advise regarding the risks

        of going to trial

        In the motion to amend, Petitioner first claims that defense counsel failed to explain the

risks of proceeding to trial versus pleading guilty and never discussed any proposed plea

agreement. Petitioner’s claim relates to defense counsel’s pretrial advice, a stage of the

proceedings that Petitioner did not address in his initial motion. Although Petitioner challenged

defense counsel’s failure to move to dismiss the indictment in the initial motion, none of his

claims relate to defense counsel’s pretrial advice regarding the cost-benefit analysis of

proceeding to trial. Accordingly, Petitioner’s claim does not relate back and is barred by the

one-year statute of limitations.

        2. Petitioner’s claim of juror misconduct

        Petitioner next claims that defense counsel should have argued that Petitioner did not

receive a fair trial after the Court was apprised of misconduct involving the jury rendering its

verdict. None of the claims raised in Petitioner’s initial motion related to juror misconduct,

however, or any other actions by members of the jury. Accordingly, the facts necessary to prove

Petitioner’s claim in his motion to amend do not derive from the same common core of operative

facts relied on in his initial motion. In sum, this claim does not relate back and is barred by the

one-year statute of limitations.




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       Furthermore, as Respondent notes, Petitioner already raised an unsuccessful claim related

to juror misconduct in his direct appeal. Claims that have been addressed and rejected on direct

appeal cannot be relitigated in the form of a § 2255 motion. See United States v. Roane, 378

F.3d 382, 396 n.7 (4th Cir. 2004). Accordingly, to the extent Petitioner’s claim overlaps with an

issue already raised on direct appeal, it is dismissed for this alternative reason as well.

       3. Petitioner’s claim related to the sufficiency of the evidence

       Petitioner next claims that defense counsel was ineffective for failing to “demonstrate to

[the] jury that the entire case against Petitioner was based on allegations made by Richard

Eckles, a major drug-king pin who was rewarded for his testimony by the government to reduce

Eckles’ own sentence in exchange for his testimony.” (Doc. No. 4 at 2). In his initial motion,

Petitioner’s sole claim of error at trial related to the introduction of the unredacted plea

agreements of cooperating witnesses. Such a claim is far narrower than the broad assertion that

Petitioner makes in his motion to amend. Because Petitioner’s claim in his motion to amend is

so much broader, it does not derive from the same set of operative facts as the claim in his initial

motion and it is therefore dismissed.

       Regardless of whether Petitioner’s claim relates back, however, it is nevertheless not

supported by the record. A review of the trial transcript shows that defense counsel thoroughly

cross-examined Eckles regarding his cooperation with the Government and his hope for a

reduced sentence. (Crim. No. 5:05-cr-257, Doc. No. 81 at 124-27: Trial Tr.). For example,

defense counsel asked, “The reason you’re sitting here today, Mr. Eckles, is because you are

facing life in prison . . . . because you’re hoping to get your sentence reduced, is that right?” (Id.

at 124). Because the record shows that defense counsel thoroughly addressed the very issue




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about which Petitioner complains, Petitioner is unable to show deficient performance and his

claim also fails on the merits.

       4. Petitioner’s claim regarding constructive amendment of the indictment

       Petitioner next claims that defense counsel was ineffective for failing to argue “that the

indictment was constructively amended because there was insufficient evidence to support a

verdict of 50 grams or more of cocaine.” (Doc. No. 4 at 2). The challenge to the indictment

listed by Petitioner in his motion to amend is different from the Speedy Trial Act claim raised in

his initial motion. The claim in the motion to amend relates to proof of drug weight, whereas the

claim in the initial motion related to pretrial continuances. Accordingly, although both claims

nominally involve failures to challenge the indictment, the facts necessary to prove each claim

are very different. Thus, this claim does not relate back and it is, therefore, time-barred.

       5. Petitioner’s claim that defense counsel erred at sentencing by failing to properly

       contest the drug weights

       Petitioner next claims that defense counsel failed to “properly argue at sentencing that the

quantities of cocaine and cocaine base being attributed to Petitioner . . . were not properly

determined and are based on unreliable quantities reported by cooperators.” (Doc. No. 4 at 2).

In his initial motion to vacate, Petitioner did not include any claim related to this Court’s

findings regarding the quantity of reasonably foreseeable drugs or to the calculation of

Petitioner’s base offense level. As such, the facts necessary to prove the claim in his motion to

amend differ from those involved in his initial motion to vacate. Thus, this claim does not relate

back and it is, therefore, time-barred.

       Furthermore, as Respondent notes, Petitioner unsuccessfully challenged this Court’s drug

weight findings in his direct appeal and cannot use this § 2255 proceeding to relitigate that issue.



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Accordingly, Petitioner’s claim is subject to dismissal on this alternative ground. Even if not

subject to dismissal, Petitioner’s claim is nevertheless belied by the record. Contrary to

Petitioner’s assertion, defense counsel objected to the drug weight calculation prior to

sentencing, but this Court overruled the objection. (Crim. No. 5:05-cr-257, Doc. No. 104 at 19:

PSR). For these reasons, Petitioner’s claim is dismissed.

          6. Petitioner’s claim related to jury tampering

          Petitioner claims that defense counsel was ineffective for failing to argue on appeal that

this Court erred in denying his motion for a mistrial based on jury tampering. Although

Petitioner makes no effort to set forth the facts necessary to support such a claim in his motion to

amend, it is clear that the claims in his initial motion to vacate did not involve facts regarding

jury tampering. Accordingly, the facts necessary to prove this claim differ in both time and type

from those relied on in the initial motion. Thus, this claim does not relate back and it is,

therefore, time-barred.

          7. Petitioner’s claim related to the Government’s allegedly inappropriate comments

          Finally, Petitioner claims that defense counsel was ineffective for failing to argue on

appeal that he should have received a mistrial in light of the Government’s comments during trial

that Petitioner and his codefendant had been held in a holding cell. Again, the only trial-related

claim raised by Petitioner in his initial motion involved the introduction of unredacted plea

agreements. The facts necessary to prove that claim are completely unrelated to this one.

Therefore, Petitioner’s claim does not relate back and it is, therefore, time-barred.

          In sum, because the litany of new claims Petitioner raises in his motion to amend do not

properly relate back to his timely filed initial motion, the Court finds that these claims are time-

barred.



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          IV.    CONCLUSION

          In sum, for the reasons stated herein, Petitioner’s Section § 2255 motion to vacate is

denied.

          IT IS, THEREFORE, ORDERED that

          1.     Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence filed pursuant to 28

                 U.S.C. § 2255, (Doc. No. 1), is DENIED, and the § 2255 petition is

                 DISMISSED.

          2.     The Government’s Motion for Extension of Time, (Doc. No. 8), is GRANTED

                 nunc pro tunc.

          3.     IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

                 Governing Section 2255 Cases, this Court declines to issue a certificate of

                 appealability, as Petitioner has not made a substantial showing of a denial of a

                 constitutional right. 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322,

                 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that

                 reasonable jurists would find the district court’s assessment of the constitutional

                 claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000)

                 (holding that when relief is denied on procedural grounds, a petitioner must

                 establish both that the correctness of the dispositive procedural ruling is

                 debatable, and that the petition states a debatably valid claim of the denial of a

                 constitutional right).

                                             Signed: August 26, 2014




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